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October 15, 2021

VIA CM/ECF
The Honorable Leonard P. Stark
United States District Court for the District of Delaware
J. Caleb Boggs Federal Building
844 N. King Street
Unit 26, Room 6124
Wilmington, DE 19801-3555

     Re:          AstraZeneca Pharmaceuticals LP v. Becerra, et al., C.A. No. 21-27-LPS

Dear Judge Stark:
       We write on behalf of AstraZeneca to alert this Court of further developments relevant to
the Court’s disposition of the litigation.

        On September 24, 2021, we informed the Court that “the National Association of
Community Health Centers served on AstraZeneca an amended petition for declaratory and
injunctive relief in [HRSA’s] Administrative Dispute Resolution (ADR) process.” D.I. 100 at 2.
We advised the Court that “[a]ssignment of the amended petition to an ADR panel could happen
at any time,” and noted that, in accordance with this court’s June 16, 2021 Memorandum Opinion,
“such proceedings do not provide a meaningful venue for contesting Defendants’ interpretation of
the 340B statute.” Id. at 3. Indeed, as this Court previously held: “If AstraZeneca (or another
manufacturer) tries to raise the legal issue presented here in ADR proceedings, the result is
preordained.” D.I. 78 at 17.

        HRSA has now informed us that four separate ADR petitions against AstraZeneca have
been assigned to panels for formal proceedings. Upon receiving that news, AstraZeneca sent
HRSA a letter on October 8, inquiring about (1) the composition of the panel or panels that will
preside over the disputes; (2) whether and when AstraZeneca is required to respond to the petitions;
(3) the rules governing the ADR proceedings, including whether AstraZeneca will be permitted to
request a stay; and (4) whether the ADR panel or panels would enter an administrative stay of
proceedings pending this Court’s decision on the parties’ fully briefed dispositive motions.

        Given the temporal urgency, AstraZeneca asked for a response no later than yesterday,
October 14. To date, however, the agency has provided no response. As we read the ADR
regulations (which have never been interpreted or applied), AstraZeneca’s responses to the ADR
petitions could be due as soon as November 4.

      Facing similar set of circumstances, Sanofi-Aventis, U.S., LLC—another 340B
manufacturer litigating a similar case—filed a motion for an emergency administrative stay of the



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ADR proceedings pending disposition of the parties’ summary judgment motions. The U.S.
District Court for the District of New Jersey denied the motion, but stated that it “will render its
decision on the pending summary judgment motions on or before November 5, 2021,” the date by
which it appears Sanofi will be required to respond to the ADR petition against it. The court’s
ruling is attached to this letter.



Respectfully submitted,

/s/ Daniel M. Silver

Daniel M. Silver (#4758)

cc:     Counsel of Record (via Electronic Mail)

Enclosure




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